CASE 0:01-cv-01921-RHK-JMM Doc. 16 Filed 12/05/01 Page i1of1

UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA

Universal Hospital Services, Inc.,

Plaintiff, Civil No. 01-1921 (RHK/JMM)
VS. ORDER
Paul Rumbos,

Defendant.

Pursuant to counsel’s December 5 letter (copy attached), the December 20, 2001,
hearing on Plaintiffs Motion for Preliminary Injunction is CANCELED. Pending the
parties’ mediation efforts, and until further Order of this Court, the Temporary
Restraining Order (Doc. No. 13) entered on November 2, 2001, remains in full force and
effect. If the mediation efforts are unsuccessful, the preliminary injunction motion will
be rescheduled.

Dated: December 5, 2000

RICHARD H. KYLE L’
United States District Judge

FILED DEC Q 9 enor

RICHARD 0. SLETTEN, CLERK
JUDGMENT ENTOU
DEPUTY CLERK

